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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL ACTION

v.                                                    NO. 12-1

TELLY HANKTON                                         SECTION "F"

                             ORDER AND REASONS

       Before the Court is Telly Hankton's motion to be allowed to

issue subpoenas ex parte and under seal.             For the reasons that

follow, the motion is DENIED.

                                      I.

       Telly Hankton moves for permission to issue thirteen subpoenas

for documents ex parte and under seal.              He contends that the

documents are necessary for mitigation purposes, and the subpoenas

must issue ex parte and under seal in order to preserve the

confidentiality of defense strategy.

                                     II.

       Rule 17(c)(1) of the Federal Rules of Criminal Procedure

provides:

       A subpoena may order the witness to produce any books,
       papers, documents, data, or other objects the subpoena
       designates. The court may direct the witness to produce
       the designated items in court before trial or before they
       are to be offered in evidence. When the items arrive,
       the court may permit the parties and their attorneys to
       inspect all or part of them.

Recognizing that the purpose of Rule 17(c) is not to provide an

additional means of discovery, but, rather, to expedite formal


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proceedings by allowing prior inspection of subpoenaed material,

the Supreme Court has created a four-part test to justify pretrial

or prehearing production of documents:

     [I]n order to require production prior to trial, the
     moving party must show:     (1) that the documents are
     evidentiary and relevant; (2) that they are not otherwise
     procurable reasonably in advance of trial by exercise of
     due diligence; (3) that the party cannot properly prepare
     for trial without such production and inspection in
     advance of trial and that the failure to obtain such
     inspection may tend unreasonably to delay the trial; and
     (4) that the application is made in good faith and is not
     intended as a general “fishing expedition.”


United States v. Nixon, 418 U.S. 683, 700 (1974); see also United

States v. Arditti, 955 F.2d 331, 345 (5th Cir. 1992)(finding that

a subpoena can be authorized only if the defendant can show that

the evidence sought is relevant, admissible, and has been requested

with sufficient specificity).       The   burden      is       on the party

requesting the documents to show good cause for production before

the trial or hearing.    United States v. Iozia, 13 F.R.D. 335, 338

(S.D.N.Y. 1952).

     Rule 17(c) does not provide that a defendant is entitled to

proceed ex parte.   Cf. Fed. R. Crim. P. 17(b)("Upon a defendant's

ex parte application, the court must order that a subpoena be

issued for a named witness if the defendant shows an inability to

pay the witness's fees and the necessity of the witness's presence

for an adequate defense."); see also United States v. Hart, 826 F.

Supp. 380, 381 (D. Colo. 1993)("There can be no right to an ex


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parte procurement of subpoenaed documents pretrial if the court has

discretion to supervise their production by permitting both parties

to inspect them prior to trial."); United States v. Urlacher, 135

F.R.D. 550, 555 (W.D.N.Y. 1991)("The scheme of Rule 17 supports the

view       that   Congress    intended    to    distinguish     between    pretrial

subpoenas duces tecum and trial subpoenas ad testificandum at least

insofar as ex parte procedures are concerned.").

       The government contends that Hankton has failed to meet his

burden under Nixon and that he is not entitled to proceed ex

parte.1      The Court agrees.     Hankton fails to support his assertion

that       the    requested   documents       are   relevant,   admissible,      and

identified with sufficient specificity.               His request rests solely

on speculation and is so overbroad that it may only be fairly

characterized as a classic fishing expedition.                    Moreover, this

Court has repeatedly and consistently held that the defendants in

this case are not entitled to ex parte production of subpoenaed

documents at this stage of the proceedings.2


       1
       Although Hankton asserts that the government "likely lacks
standing" to oppose his motion, the Court finds that the government
has a legitimate interest in this matter. See United States v.
Tomison, 969 F. Supp. 587 (E.D. Cal. 1997). But even without the
government's opposition, the Court is obligated under Rule 17 to
examine whether the request complies with the Nixon factors. See
Bowman Dairy Co. v. United States, 341 U.S. 214, 221 (1951)("The
burden is on the court to see that the subpoena is good in its
entirety and it is not upon the [subpoenaed party] to cull the good
from the bad.").
       2
       The government also urges this Court to construe Hankton's
motion as a motion to reconsider the Court's June 17, 2014 order

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     Accordingly, the Court DENIES Hankton's motion to be allowed

to issue subpoenas ex parte and under seal.

                           New Orleans, Louisiana, July 9, 2014



                                 ____________________________
                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




denying as filed ex parte Hankton's prior application for the same
subpoenas at issue here. This motion also fails on that ground as
well.

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